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                             IN THE CIRCUIT COURT OF HOUSTON COUNTY, ALABAMA

    —so—
          bu         JOHN PARKER,                                        )
                                                                         )
                            Plaintiff,                                   )
                                                                         )
                     Lim                                                 ) Case No.: CV-2016-__________

    S                WILLIAMS PLANT SERVICES, LLC,
                                                                         )
                                                                         )
                                                                         )
                            Defendant.                                   )

                                                         COMPLAINT

                     PLEASE NOTE: Plaintiffs First Set of interrogatories and Requests for
                                  Production of Documents to Defendant WILLIAMS PLANT
                                  SERVICES, LLC have been served with this Complaint. If you
                                  do not receive these documents, please telephone the
                                  undersigned attorney's office, and a copy will be forwarded to
                                  you immediately.

                            Plaintiff John Parker files the following Complaint against Defendant Williams
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                     Plant Services, LLC:
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                                                    Parties and Jurisdiction

                     1.     Plaintiff John Parker (hereinafter "Plaintiff" or "Employee") is an adult resident

                     and citizen of Houston County, Aabarna.

                     2.     Defendant Williams Plant Services, LLC, (hereinafter "Defendant" or

                     "Company") is a foreign limited liability company organized under the laws of the State

                     of Georgia but which was doing business through agents at all times material hereto in

                     Houston County, Alabama.

                     3.     A substantial part of the acts and omissions giving rise to Plaintiff's claims

                    against Defendant occurred in Houston County, Alabama.

                    4.      The amount in controversy, exclusive of attorney fees and costs, exceeds the

                    minimum jurisdictional requirements of this Court.


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                                           COUNT ONE
                                       BREACH OF CONTRACT

       5.      Plaintiff realleges all the foregoing material paragraphs as if fully set out herein.

       6.      Plaintiff worked for the Defendant in various positions for a period of

       approximately 18 years from February 1996 through February 23, 2015.

       7.      Effective May 31, 2011, Defendant offered Plaintiff the position of General

       Superintendent at the Farley Nuclear Plant at a rate of $4935 per hour plus time and one-

       half for hours worked over 40 hours per week.

       8.      Thereafter, Plaintiff performed all the job duties required of him by the Defendant

       to the best of his ability.

       9.      Plaintiff exceeded 40 hours on a number of weeks but was not paid overtime as
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       promised.

       10.     Throughout his nearly 18 years of employment with Defendant Plaintiff never
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       received any reprimands.

       11.     On or about February 23, 2015, Defendant terminated Plaintiff.

       12.     Defendant's termination of Plaintiff was without cause.

       13.     Between May 31, 2011 and the last date Plaintiff worked for Defendant, Plaintiff

      often exceeded 40 hours of work per week but the Defendant failed to pay him overtime

      pay at the rate of $74.02 per hour.

       14.     Plaintiff performed his obligations under the employment agreement with

      Defendant.

       15.     Moreover, upon being terminated, Plaintiff was not paid his separation pay of one

      week per year of service over the course of nearly 18 years of service for the Defendant.




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 16.     Plaintiff was not given written notice of the allegedly offending conduct and a

 reasonable opportunity to cure the same before his termination.

 17.     Before terminating Plaintiff without good cause, Defendant breached the

 agreement by failing to pay Plaintiff the appropriate hourly rate of pay when Plaintiff

 exceeded 40 hours per week.

 18.     After terminating Plaintiff without good cause, Defendant failed to pay Plaintiff

 separation pay of one week per year of service over the course of nearly 18 years of

 service for the Defendant.

 19.     Defendant's failure and refusal to pay overtime and male the required severance

 payment to Plaintiff was a breach of the employment agreement.

 20.     Plaintiff suffered damages as a proximate result of Defendant's breach of the

 employment agreement.

         WHEREFORE Plaintiff demands judgment against Defendant for damages in

 such amount as determined by the trier of fact.

                                  COUNT TWO
                         BREACH OF IMPLIED
                        OF GOOD FAITH AND FAIR DEALING

 21.    Plaintiff realleges all the foregoing material paragraphs as if fully set out herein.

 22.    The contract between Plaintiff and Defendant includes an implied covenant of

 good faith and fair dealing.

 23.    The implied covenant of good faith and fair dealing requires a party to refrain

 from (a) arbitrary or unreasonable conduct; (b) oppressive or underhanded tactics; (c)

 fraud, deceit, or misrepresentation; and (d) opportunism, by taking advantage of one's




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       control in the implementation of the agreement; which has the effect of preventing the

       other party to the contract from receiving the fruits of the bargain.

       24.     Defendant breached the implied covenant of good faith and fair dealing by

       accusing Plaintiff of misconduct as a pretext for denying Plaintiff his bargained for

       severance payment.

       25.    Plaintiff was not guilty of misconduct and Defendant knew that when it made the

       accusation in connection with Plaintiff's termination.

       26.    Defendant had no arguable or debatable grounds to make the accusation and the

       accusation was made in bad faith.

       27.    Defendant's accusation was an arbitrary, unreasonable, oppressive, underhanded

       and deceitful tactic intended to prevent Plaintiff from receiving the severance payment.

fTI    28. Defendant has a pattern and practice of improperly invoking the "good cause"

       provision in its employment contracts as a pretext for denying employees bargained for

       severance payments.

       29.	   Plaintiff suffered damages as a proximate result of Defendant's breach of the

       implied covenant of good faith and fair dealing.

              WHEREFORE Plaintiff demands judgment against Defendant for damages in

       such amount as determined by the trier of fact.

                                            JURY DEMAND

              Plaintiff hereby demands a jury trial as to all issues raised in this Complaint.

                                                         /s/ Tracy W.
                                                         Tracy W. Cary




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       Dated this -	   day of January, 2016.

                                                   MORRIS, CARY, ANDREWS,
                                                   TALMADGE & DRIGGERS, LLC

                                                     /s/ Tracy W. Can'
                                                   Tracy W. Cary (CAR098)
                                                   Attorney for Plaintiff
                                                   3334 Ross Clark Circle
                                                   Dothan, Alabama 36303
                                                    (334) 702-0000 Tel
                                                    (334) 673-0077 Fax
                                                   tcary®mcatlaw.com Email

       PLEASE SERVE DEFENDANT BY CERTIFIED MAIL:

       Williams Plant Services, LLC
       2076 West Park Place
       Stone Mountain, Georgia 30087-3530



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